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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 NATIONAL ASSOCIATION FOR
 HOME CARE & HOSPICE,

                Plaintiff,


        v.                                           Civil Action No. 1:23-cv-01942-TNM


 XAVIER BECERRA,
 In His Official Capacity as Secretary
 of Health and Human Services,

                Defendant.


                       [PROPOSED] ORDER GRANTING
             NATIONAL ASSOCIATION FOR HOME CARE & HOSPICE’S
                    MOTION FOR SUMMARY JUDGMENT

       Having considered Plaintiff National Association for Home Care & Hospice’s motion for

summary judgment, all oppositions and replies thereto, and the administrative record, the Court

grants the motion. It is hereby

       ORDERED that Plaintiff’s Motion for Summary Judgment is GRANTED; and it is also

       ORDERED that the CY 2023 Rule promulgated at 87 Fed. Reg. 66,790 (Nov. 4, 2022) is

hereby VACATED.

       SO ORDERED.

       Dated this __________________ day of _________________, 2024.


                                               The Honorable Trevor N. McFadden
                                               United States District Judge
